          Case 1:21-cr-00690-RCL Document 38 Filed 09/06/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :
                                              :
               v.                             :         Case No.: 21-CR-690 (RCL)
                                              :
PHILIP SEAN GRILLO,                           :
                                              :
                                              :
                       Defendant.             :


                               NOTICE OF WITHDRAWAL

       The United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, informs the Court that Assistant United States

Attorney Christine M. Macey, as counsel for the United States, is terminating their

appearance as counsel of record in this matter. All other government counsel noted on the

docket at the time of this filing will remain counsel for the United States.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052


                                              ____/s/ Christine M. Macey_________
                                              CHRISTINE M. MACEY      Y
                                              Assistant United States Attorney
                                              D.C. Bar No. 1010730
                                              601 D St., NW
                                              Washington, DC 20530
                                              Telephone: (202) 252-7058
                                              Email: Christine.Macey@usdoj.gov
